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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION
STONE WORKS, LLC                                                                      PLAINTIFF

v.                                    Case No. 4:21cv941 JM

RANDY SIMS, MEGAN SIMS,
WILLIAM THOMAS, STONE CONCEPTS, LLC,
MARTY HESCH, and EDWARD FRALEY                                                   DEFENDANTS

                                              ORDER

       Tim Dudley’s motion to withdraw as counsel for separate defendants Randy Sims and

Megan Sims (Doc. No. 17) is GRANTED. He is directed (1) to file a notice to the Court

containing the address, email, and phone numbers for Randy and Megan Sims upon receipt of

this order and (2) to mail a copy of this order to the Sims both electronically and by United

States Postal Service.

       As parties to this lawsuit now proceeding without the benefit of counsel (also called

proceeding pro se), the Sims are advised that they are required to be familiar and comply with all

Federal Rules of Civil Procedure as well as the Local Rules of this Court. 1

       Local Rule 5.5(c)(2) instructs parties proceeding pro se that it is their responsibility (1) to

notify the Clerk and other parties of any change in address, (2) to monitor the progress of the

case, (3) and to prosecute or defend the action diligently. Pro se parties should sign all pleadings

and include their address and telephone number with the signature. If any communication from

the Court to a pro se party that requires a response is not responded to within 30 days, the Court

may impose sanctions, including striking an answer and holding a party in default.


1
  The Federal Rules of Civil Procedure are available in many libraries as well as online at
https://www.law.cornell.edu/rules/frcp. The Local Rules can be obtained from the District
Clerk for the Eastern District of Arkansas or online at www.arwd.uscourts.gov/court-info/local-
rules-and-orders.
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IT IS SO ORDERED this 12th day of January, 2022.


                                                                        _
                                             UNITED STATES DISTRICT JUDGE




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